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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                            :
                                                    :
                  v.                                :            CRIMINAL NO. 10-663-04
                                                    :
JAQUEL CREWS                                        :

                                               ORDER

       AND NOW, this 31st day of July, 2018, upon consideration of the Government’s Motion

for Reconsideration (Docket No. 614), IT IS HEREBY ORDERED that the Motion is

DENIED. 1


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          On January 23, 2018, we granted Defendant’s Motion for Partial Relief from Sentence
(Docket No. 581). Defendant brought that Motion pursuant to 28 U.S.C. § 1651 for relief in the
nature of a writ of error coram nobis or audita querela from the August 14, 2012 Order and
Forfeiture Money Judgment (Docket No. 362) (the “Forfeiture Order”) and from that portion of
the judgment in this case (Docket No. 466) (the “Judgment”) that require him to forfeit his
interest in the amount of $5,000,000.00. The Forfeiture Order and Judgment made Defendant
jointly and severally liable for the forfeiture of $5,000,000.00 with his co-defendant, Mark
Miller. We concluded, in our January 23, 2018 Order, that our imposition of joint and several
liability violated 21 U.S.C. § 853. See Honeycutt v. United States, 137 S. Ct. 1626, 1633, 1635
(2017) (holding that joint and several liability is contrary to the provisions of 21 U.S.C. § 853
and that “[f]orfeiture pursuant to § 853(a)(1) is limited to property the defendant himself actually
acquired as the result of the crime”). We vacated the Forfeiture Order and ordered the
Government to file an amended motion for forfeiture of money establishing through citation to
the evidence admitted at trial, the amount of the Government’s $5,000,000.00 forfeiture request
that is personally attributable to Defendant.
         On February 22, 2018, the Government filed the instant Motion for Reconsideration of
our January 23, 2018 Order. While we could deny the Motion as untimely, we have considered
it on the merits. See Local R. Civ. P. 7.1(g) (stating that “[m]otions for reconsideration . . . shall
be served and filed within fourteen (14) days after the entry of the order concerned”); see also
Local R. Crim. P. 1.2 (making Local R. Civ. P. 7.1(g) “fully applicable in all criminal
proceedings”). “The scope of a motion for reconsideration . . . is extremely limited. Such motions
are not to be used as an opportunity to relitigate the case; rather, they may be used only to correct
manifest errors of law or fact or to present newly discovered evidence.” Blystone v. Horn, 664 F.3d
397, 415 (3d Cir. 2011) (citing Howard Hess Dental Labs., Inc. v. Dentsply Int’l Inc., 602 F.3d 237,
251 (3d Cir. 2010)). A motion for reconsideration will only be granted if the moving party
establishes: “‘(1) an intervening change in the controlling law; (2) the availability of new evidence
that was not available when the court granted the motion . . .; or (3) the need to correct a clear error
of law or fact or to prevent manifest injustice.’” Id. (quoting Howard Hess, 602 F.3d at 251). The
Government argues that we should reconsider our January 23, 2018 Order to correct a clear error of
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law. “Because federal courts have a strong interest in the finality of judgments, motions for
reconsideration should be granted sparingly.” Cont’l Cas. Co. v. Diversified Indus., Inc., 884 F.
Supp. 937, 943 (E.D. Pa. 1995) (citation omitted). “‘It is improper on a motion for reconsideration to
ask the Court to rethink what it had already thought through—rightly or wrongly.’” In re Blood
Reagents Antitrust Litig., 756 F. Supp. 2d 637, 640 (E.D. Pa. 2010) (quoting Glendon Energy Co. v.
Borough of Glendon, 836 F. Supp. 1109, 1122 (E.D. Pa. 1993)). Therefore, “[m]ere dissatisfaction
with the Court’s ruling . . . is not a proper basis for reconsideration.” Progressive Cas. Ins. Co. v.
PNC Bank, N.A., 73 F. Supp. 2d 485, 487 (E.D. Pa. 1999).
         While the Government concedes that “Honeycutt announced a substantive rule that has
retroactive effect,” it argues that we committed a clear error of law by granting Defendant’s Motion
because “audita querela does not empower Crews to vacate his final forfeiture judgment.” (Gov’t
Mot. at 5.) The Government argues that, because the Supreme Court denied Defendant’s petition for
writ of certiorari nine months before it issued Honeycutt, the forfeiture order was final and there is no
procedure available to challenge it. The Government made this argument in response to Defendant’s
Motion and we rejected it, concluding that the writ of audita querela is available to Defendant in
these circumstances, because Defendant preserved this issue by raising it on appeal and there has
been an intervening change in the applicable law since his appeal was denied. See United States v.
Miller, 645 F. App’x 211, 226-27 (3d Cir. 2016) (denying Crews’s claim on appeal that the district
court erred by imposing joint and several liability for the forfeited property); Massey v. United
States, 581 F.3d 172, 174 (3d Cir. 2009) (stating that the writ of audita querela “is available in
criminal cases to the extent that it fills in gaps in the current system of post-conviction relief”
(citations omitted)); United States v. Johnson, 962 F.2d 579, 582 (7th Cir. 1992) (stating that the writ
of audita querela is available to a criminal defendant to “provide[] relief from the consequences of a
conviction when a defense . . . arises subsequent to entry of the final judgment. The defense . . . must
be a legal defect in the conviction, or in the sentence which taints the conviction”); Rawlins v.
Kansas, 714 F.3d 1189, 1193 (10th Cir. 2013) (stating that audita querela requires a defendant to
“show something like an intervening change in law” (citation omitted)). Consequently, we deny the
Motion for Reconsideration to the extent that the Government reasserts arguments that it made in
response to Defendant’s Motion for Partial Relief from Sentence, because a motion for
reconsideration is not to be used to relitigate issues that a court has already decided. See United
States v. Whoolery, Crim. No. 10-144-02, 2016 WL 3854874, at *48 (W.D. Pa. July 15, 2016)
(citations omitted).
         The Government has provided us with additional authority in support of its argument that
Defendant is not entitled to relief from the Forfeiture Order and Judgment since filing the instant
Motion for Reconsideration: United States v. Georgiou, Crim. No. 09-88, 2018 U.S. Dist. LEXIS
102662 (E.D. Pa. July 19, 2018); and United States v. Ortiz, Crim. No. 11-251-08, 2018 WL
3304522 (E.D. Pa. July 5, 2018). In both of these cases, the court denied a defendant’s motion to
vacate a forfeiture order based on Honeycutt. In Georgiou, the court denied the motion on the
ground that the rule it announced in Honeycutt was not retroactive because it was not substantive,
and on the ground that the writ of audita querela did not apply in that case because “there is no legal
basis for disturbing a final order of forfeiture that has been final for years.” Georgiou, 2018 U.S.
Dist. LEXIS 102662, at *11, 14 (citations omitted). In Ortiz, the district court concluded that
Honeycutt was not retroactive because the rule it announced was not substantive. Ortiz, 2018 WL
3304522, at *8. We find that both of these cases are inapplicable, as the Government concedes that
the rule announced in Honeycutt is substantive and, therefore, should apply retroactively (see Gov’t
Mot. at 5, 10) and because the Forfeiture Order had been final only for a term of months, not years,
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       2.      The Government shall file, no later than August 30, 2018, an amended motion for

forfeiture of money and supporting papers, establishing through citation to the evidence admitted

at trial, the amount of the Government’s $5,000,000.00 forfeiture request that is personally

attributable to Defendant. Plaintiff may file a response to that motion no later than September

30, 2018.

                                                    BY THE COURT:


                                                    /s/ John R. Padova

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                                                    John R. Padova, J.




before Honeycutt was decided.         Accordingly, we deny the Government’s Motion for
Reconsideration.
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